        Case 1:21-cr-00039-MSN Document 219 Filed 02/17/22 Page 1 of 1 PageID# 1468


Date: 2/17/2022                    Judge: Nachmanoff                              Reporter:    D. Salters
Time:     10:28 am                 to 10:40 am


UNITED STATES of AMERICA
           Vs.

Ericka Oliver
Brandon Williams                       1:21-cr-39
Defendant’s Name                       Case Number

Marvin Miller
Brett Lee
Lana Manitta                           Rachael Roberts
Counsel for Defendant                  Counsel for Government

Matter called for:
( ) Motions                    ( ) Setting Trial Date      ( ) Change of Plea Hrg.            ( ) Rule 35
( ) Arraignment                ( ) Appeal from USMC        ( ) Sentencing                     ( ) Rule 20 & Plea
( ) Probation/Supervised Release Hrg.                      ( ) Pre-Indictment Plea            (x) Other: Status

Defendants appeared:          (x) in person                ( ) failed to appear
                              (x) with Counsel             ( ) without counsel                ( ) through counsel



Case continued to 7/12/2022            at 9:00 am         for: (x ) Jury Trial (     ) Bench Trial (        ) Sentencing
    Time is excludable under the speedy trial act.
    Order to follow.


Defendant is: (x ) In Custody as to Williams            ( x) On Bond as to Oliver


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